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     Attorneys for Plaintiff
13   CONTOUR IP HOLDING, LLC
14

15
                               IN THE UNITED STATES DISTRICT COURT
16
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                        SAN FRANCISCO DIVISION
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20   CONTOUR IP HOLDING, LLC,                    )   Case Number: 17-cv-04738-WHO
                                                 )
21                Plaintiff,                     )   JOINT STIPULATION AND
                                                 )   ORDER RELATING CASES;
22                                               )   ORDER RELATING CASES,
           vs.
                                                 )   VACATING TRIAL DATE AND
23
     GOPRO, INC.,                                )   SETTING CASE MANAGEMENT
24                                               )   CONFERENCE
                  Defendant.                     )
25                                               )   Judge: William H. Orrick
                                                 )
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                          JOINT STIPULATION AND [PROPOSED] ORDER RELATING CASES
                                          Case No.: 17-CV-04738-WHO
 1           Plaintiff Contour IP Holding, LLC (“Contour”) and Defendant GoPro, Inc. (“GoPro”) hereby

 2   jointly stipulate as follows:

 3           WHEREAS, Contour and GoPro agree that the below two cases satisfy the definition of related

 4   cases in Civil Local Rule 3-12 and should thus be deemed related:

 5       •   Case No. 17-cv-04738, Contour IP Holding, LLC v. GoPro, Inc. (Judge Orrick)

 6       •   Case No. 21-cv-02143, Contour IP Holding, LLC v. GoPro, Inc. (Magistrate Judge Spero)

 7

 8   NOW THEREFORE, IT IS HEREBY STIPULATED and the parties request the Court order that

 9   the following cases are related and the clerk should reassign Case No. 21-cv-02143 to this Court (Judge

10   Orrick):

11       •   Case No. 17-cv-04738, Contour IP Holding, LLC v. GoPro, Inc. (Judge Orrick)

12       •   Case No. 21-cv-02143, Contour IP Holding, LLC v. GoPro, Inc. (Magistrate Judge Spero)

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                            JOINT STIPULATION AND [PROPOSED] ORDER RELATING CASES
                                            Case No.: 17-CV-04738-WHO
                                                     Page 1 of 4
 1
       Dated: March 31, 2021       /s/ Matthew R. McCullough
 2                                 John R. Keville (Pro Hac Vice)
                                   Dustin J. Edwards (Pro Hac Vice)
 3                                 William M. Logan (Pro Hac Vice)
                                   WINSTON & STRAWN LLP
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13
                                   Counsel for Plaintiff
14                                 CONTOUR IP HOLDING LLC

15     Dated: March 31, 2021       /s/ Michelle A. Clark
                                   Sean S. Pak (Bar No. 219032)
16                                 seanpak@quinnemanuel.com
                                   Michelle Ann Clark (Bar No. 243777)
17                                 michelleclark@quinnemanuel.com
                                   Jordan Jaffe (Bar No. 254886)
18                                 jordanjaffee@quinnemanuel.com
                                   Nathan Sun (Bar No. 284782)
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                                   Facsimile: (415) 875-6700
22
                                   Attorneys for Defendant
23                                 GoPro, Inc.
24
     PURSUANT TO STIPULATION, IT IS SO ORDERED.
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           In addition, the trial set in Case No. 17-4738 will have to be continued. The Court sets a
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     Case Management Conference on May 4, 2021 at 2 p.m. in both cases to discuss whether they
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                         JOINT STIPULATION AND [PROPOSED] ORDER RELATING CASES
                                         Case No.: 17-CV-04738-WHO
                                                  Page 2 of 4
 1   should be consolidated and what an appropriate case/trial schedule should be for each/both

 2   cases. A Joint Case Management Statement is due April 27,2021.

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 4
      Date: April 1, 2021
 5                                                         Honorable William H. Orrick
 6                                                          United States District Judge
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                            JOINT STIPULATION AND [PROPOSED] ORDER RELATING CASES
                                            Case No.: 17-CV-04738-WHO
                                                     Page 3 of 4
 1                                    CONCURRENCE IN FILING

 2          I, Matthew R. McCullough, hereby attest that the concurrence to the filing of this document

 3   has been obtained from each signatory hereto.

 4

 5     Dated: March 31, 2021                  /s/ Matthew R. McCullough

 6                                               Matthew R. McCullough

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                          JOINT STIPULATION AND [PROPOSED] ORDER RELATING CASES
                                          Case No.: 17-CV-04738-WHO
                                                   Page 4 of 4
